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                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION



IN RE:                                                :
                                                      :
DANA MICHELLE VALORIE CALHOUN,                        :    CASE NO. 18-67543-PMB
                                                      :
                                                      :    CHAPTER 13
         Debtor.                                      :
                                                      :
                                                      :
                                                      :
                                                      :
WELLS FARGO BANK, N.A.,                               :
                                                      :
         Movant.                                      :
                                                      :
vs.
                                                      :
DANA MICHELLE VALORIE CALHOUN,                        :
MELISSA J. DAVEY, Trustee,                            :
                                                      :
         Respondents.                                 :
                                                      :
                                                      :
                                                      :


      NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY AND REQUEST FOR
                 FINDING PURSUANT TO 11 U.S.C. SECTION 362 (d)(4)(B)

         Movant has filed documents with the court to obtain relief from the automatic stay and has
         requested a finding pursuant to 11 U.S.C. SECTION 362 (d)(4)(B).

         YOUR RIGHTS MAY BE AFFECTED. You should read these documents carefully and
         discuss them with your attorney, if you have one in this bankruptcy case. If you do not have
         an attorney, you may wish to consult one.

         If you do not want the court to grant the Motion or if you want the court to consider your views
         on the motion, then you or your attorney shall attend the hearing scheduled to be held on

           December 6, 2018 at 1:30 P.M. in Courtroom 1202, United States Bankruptcy Court, 75 Ted
                                  Turner Drive SW, Atlanta, Georgia 30303.

         If you or your attorney does not take these steps, the court may decide that you do not oppose the
         relief sought in the motion and may enter an order granting relief.

         You may also file a written response to the pleading with the Clerk at the address
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       stated below, but you are not required to do so. If you file a written response, you must attach a
       certificate stating when, how and on whom (including addresses) you served the response. Send
       your response so that it is received by the Clerk at least two business days before the hearing.

       If a hearing on the motion for relief from the automatic stay cannot be held within thirty
       (30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
       filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
       automatic stay remaining in effect until the Court orders otherwise.

       The address of the Clerk's Office is: Clerk, United States Bankruptcy Court, 75 Ted Turner Drive
       SW, Suite 1340, Atlanta, Georgia 30303. You must also send a copy of your response to the
       undersigned at the address stated below.


         11/15/2018
 Dated: __________                                        /s/ A. Michelle Hart Ippoliti
                                                         A. Michelle Hart Ippoliti
                                                         Georgia Bar No. 334291
                                                         Counsel for Movant
                                                         McCalla Raymer Leibert Pierce, LLC
                                                         1544 Old Alabama Road
                                                         Roswell, Georgia 30076
                                                         (678) 281-6537 Direct & Fax
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

IN RE:                                                 :
                                                       :
DANA MICHELLE VALORIE CALHOUN,                         :    CASE NO. 18-67543-PMB
                                                       :
                                                       :    CHAPTER 13
         Debtor.                                       :
                                                       :
                                                       :
                                                       :
                                                       :
WELLS FARGO BANK, N.A.,                                :
                                                       :
         Movant.                                       :
                                                       :
vs.
                                                       :
DANA MICHELLE VALORIE CALHOUN,                         :
MELISSA J. DAVEY, Trustee,                             :
                                                       :
         Respondents.                                  :
                                                       :
                                                       :
                                                       :


      MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND REQUEST FOR FINDING
                    PURSUANT TO 11 U.S.C. SECTION 362 (d)(4)(B)

         COMES NOW Movant and shows this Court the following:

                                                      1.

         This is a Motion under Section 362(d) of the Bankruptcy Code for relief from the automatic stay

for all purposes allowed by law and the contract between the parties, including, but not limited to, the

right to foreclose on certain real property. Movant also requests a finding that the petition in this case was

filed to delay, hinder, or defraud this Creditor that involves multiple bankruptcy filings, as contemplated

by 11 U.S.C. §362(d)(4)(B).

                                                      2.
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        Movant is the holder of a loan secured by certain real property in which Debtor claims an interest.

A copy of the Security Deed is attached hereto and made a part hereof. Said real property is security for a

promissory Note, and is commonly known as 6980 Roswell Road, NE, Unit M6, Atlanta, Georgia

30328, (the “Property”).

                                                    3.

        Debtor executed a promissory note secured by a mortgage or security deed.                     The

promissory note is either made payable to Creditor or has been duly indorsed. Creditor, directly

or through an agent, has possession of the promissory note. Creditor is the original mortgagee or

beneficiary or the assignee of the mortgage or security deed.

                                                    4

        The loan which Movant holds is seriously in default.       As of November 2, 2018, the loan is

contractually due for the August 1, 2017 payment and is 16 payments in arrears, consisting of six (6)

payments of $690.07 each and nine (9) payments of $695.05 each, and one (1) payment of $735.00. The

approximate amount of missed payments is $11,130.87. The terms of the Debt Agreement were

amended by a loan modification agreement entered into by and between Wells Fargo Bank, N.A.

and the Debtor dated February 21, 2014 (the “Loan Modification Agreement”).
                                                    5.

        Movant’s estimated payoff as of November 2, 2018, is $96,017.55. The current amount of

unpaid interest on Movant’s loan as of November 2, 2018, is $4,370.69. Movant estimates the

value of the property to be $207,100.00, based upon 2018 Fulton County Tax Assessor. Upon

information and belief, Movant is not aware of any other liens against the Property, other than

association dues owed to Stone Manor Condo Association in the amount of $15,344.06,

according to Debtor’s Schedule D.
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                                                     6.

        Because of the Debtor’s default and clear inability to make all required payments, Movant is not

adequately protected and shows that there is cause for relief from the automatic stay.



                                                     7.

        This case was not filed in good faith. Debtor has not made regular payments on the loan and has

continually filed bankruptcy for the apparent sole purpose of stopping pending foreclosure sales and has

been unable to offer any efforts to successfully prosecute said bankruptcies.



                                                     8.

        Because the Security Deed so provides, Movant is entitled to its reasonable attorney’s fees.



                                                     9.

        This is the fifth (5th) case filed by Debtor affecting the subject property. The prior cases are:

               Chapter 7 Case number 12-78588-wlh filed by Dana M. Calhoun aka Dana Michelle

                Valorie Calhoun on November 14, 2012. Movant filed a Motion for Relief on December

                28, 2012, which was granted on February 5, 2013. The Debtor was discharged and

                terminated on February 28, 2013.

               Chapter 13 Case number 15-57314-pmb filed by Dana M. Calhoun aka Dana Michelle

                Valorie Calhoun on April 21, 2015, stopping a scheduled June 2, 2015, foreclosure.

                Movant filed a Motion for Relief on September 8, 2015, which was pending when

                Debtor’s case was dismissed, unconfirmed, on September 24, 2015 and the case was

                terminated on February 19, 2016.

               Chapter 13 Case number 15-68417-pmb filed by Dana M. Calhoun aka Dana Michelle

                Valorie Calhoun on September 25, 2015. Movant filed an Objection to Confirmation of

                Plan on November 18, 2015 and filed a Motion for Relief on July 22, 2016 due to

                Debtor’s failure to maintain post petition mortgage payments. The Motion for Relief was

                settled with a repayment order entered on September 22, 2016. Movant filed a second
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                Motion for Relief on September 14, 2017, which was still pending when Debtor’s case

                was dismissed on June 1, 2018 upon Trustee’s Motion and the case was terminated on

                September 10, 2018.

               Chapter 13 Case number 18-60054-pmb filed by Dana Michelle Valorie Calhoun on June

                15, 2018. The Debtor was dismissed, unconfirmed, on September 25, 2018.

               The instant case was filed on October 18, 2018, intending to stop a scheduled December

                4, 2018 foreclosure.



                                                    10.

       Based upon the foregoing history of rapidly successive failed bankruptcy petitions within a short

period, Movant shows that the filing of this petition was part of a scheme to delay, hinder or defraud this

Creditor that involves multiple filings, as contemplated by 11 USC §362(d)(4)(B). Movant seeks a

finding to this effect such that upon recording in the Fulton County, Georgia property records of the Order

granting relief pursuant to Section 362(d)(4)(B), such Order shall be binding and no automatic stay shall

arise to Movant, its successors and assigns, in any other bankruptcy case filed by the Debtor Dana

Michelle Valorie Calhoun, or any other party claiming an interest in the Property for a period of two years

from the entry of same Order.

        WHEREFORE, Movant prays:

        (1) For an Order lifting the automatic stay and authorizing Movant, its successors and assigns, to

            proceed with the exercise of its private power of sale and to foreclose under its Security Deed

            and appropriate state statues;

        (2) for a finding that this case was filed to delay, hinder or defraud this Creditor, as contemplated

            by 11 U.S.C. Section 362 (d)(4)(B), such that no automatic stay shall arise as to Movant, its

            successors and assigns, in any other bankruptcy case filed by the debtor or any other party

            claiming an interest in the Property for a period of two years from the entry of the Order;

        (3) for an award of reasonable attorney’s fees;

        (4) for waiver of Bankruptcy Rule 4001(a)(3); and
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      (5) for such other and further relief as is just and equitable.


                                                  /s/ A. Michelle Hart Ippoliti
                                                 _______________________________________
                                                 A. Michelle Hart Ippoliti
                                                 Georgia Bar No. 334291
                                                 Attorney for Movant
                                                 McCalla Raymer Leibert Pierce, LLC
                                                 1544 Old Alabama Road
                                                 Roswell, Georgia 30076-2102
                                                 (678) 281-6537 – Direct & Fax
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                                                     Bankruptcy Case No. 18-67543-pmb
                                                     Chapter 13
                                                     Judge: Paul M. Baisier


                                   CERTIFICATE OF SERVICE


      I, A. Michelle Hart Ippoliti, of McCalla Raymer, LLC, Bankruptcy Department, 1544 Old
Alabama Road, Roswell, Georgia 30076, certify:

                                                   15th
That I am, more than 18 years of age; that on the _______          November 2018, I served a copy of
                                                           day of __________,
the within MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND REQUEST FOR FINDING
PURSUANT TO 11 U.S.C. SECTION 362 (d)(4)(B) filed in this bankruptcy matter on the following
Respondent(s) by regular mail, with adequate postage affixed, unless another manner is indicated:

Dana Michelle Valorie Calhoun
6980 Roswell Road
Unit M6
Atlanta, GA 30328

Howard P. Slomka                      (served via email @ se@myatllaw.com)
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

Melissa J. Davey                      (served via email)
Suite 200
260 Peachtree Street, NW
Atlanta, GA 30303


I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.


Executed on        11/15/2018       By:     /s/ A. Michelle Hart Ippoliti
                    (date)                  A.MICHELLE HART IPPOLITI, BAR NO. 334291
                                            Attorney for Movant
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